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                             UNITED STATES BANKRUPTCY COURT
                              NORTHERN DISTRICT OF INDIANA
                                   FORT WAYNE DIVISION

IN THE MATTER OF:                                )
                                                 )
AUBURN FOUNDRY, INC.,                            )              Chapter 11
                                                 )
                   Debtor.                       )              BK Case No. 04-10427


                                    CERTIFICATE OF SERVICE

                   I certify that a copy of the foregoing Interim Application for Allowance and

Payment of Attorneys’ Fees of Baker & Daniels, Counsel for Debtor Auburn Foundry and

Notice of Application for Allowance of Attorneys’ Fees and Opportunity to Object were served

first-class United States mail, postage prepaid, or by electronic means, on April 7, 2005, upon the

following parties or counsel:




FWIMAN1 347670v1
                               Case 04-10427-reg   Doc 601         Filed 04/07/05   Page 2 of 23
Label Matrix for USBC                     0 C TANNER                                  3M VALLEY
Northern District of Indiana              1930 SOUTH STATE STREET                     600 E. MEIGS
Case 04-10427-reg                         SALT LAKE CITY, UT 84115                    VALLEY, NE 68064-0368
Thu Apr 7 09:43:05 EDT 2005


A T & T                                   A-1 JANITORIAL SERVICE                      A. F. Europe, Inc.
P.O. Box 96001309                         PO BOX 241                                  c/o Sommer Barnard Ackerson PC
Louisville, KY 40290-1309                 WATERLOO, IN 46793                          Attn: Jerald I. Ancel
                                                                                      One Indiana Square, Suite 3500
                                                                                      Indianapolis, IN 46204-2023, 46204-2023

A.F. EUROPE, INC.                         ABB Inc.                                    ABB METALLURGY INC
635 W. ELEVENTH STREET                    9000 Regency Park                           1460 LIVINGSTON AVE
AUBURN, IN 46706                          Suite 300                                   NORTH BRUNSWICK, NJ 08902
                                          Cary, NC 27511


ABF FREIGHT SYSTEM INC.                   ACORDIA                                     ADDIS INC
3320 N. WELLS ST.                         P.O. BOX 885                                3721 LEE ROAD
FORT WAYNE, IN 46808                      FT WAYNE, IN 46801-0885                     CLEVELAND, OH 44120



ADMETCO                                   AERO-MOTIVE MANUFACTURING                   AIR PRODUCTS AND CHEMICALS
7625 VICKSBURG PIKE                       5688 EAST ML AVE                            PO BOX 25745
FORT WAYNE, IN 46850                      KALAMAZOO, MI 49001                         LEHIGH VALLEY, PA 18002-5742



AIR TECHNICS INC.                         AIRBORNE EXPRESS                            AIRTECH ENVIRONMENTAL SERVICES
2652 MERRIMONT DRIVE                      P.O. BOX 91001                              601A COUNTRY CLUB DRIVE
TROY, OH 45373                            SEATTLE, WA 98111                           BENSENVILLE, IL 60106



ALFA FINANCIAL CORPORATION                ALLEN PATTERN WORKS INC.                    ALRO STEEL CORPORATION
56 COLONIAL PARK DRIVE SUITE 200          616 EAST WALLACE STREET                     PO BOX 10360
ROSWELL, GA 30075                         P.O. BOX 10540                              FT WAYNE, IN 46851-0360
                                          FORT WAYNE, IN 46803


AMERICAN BIO MEDICA CORPORATION           AMERICAN WIRE ROPE AND SLING                AMETEK INC.
122 SMITH ROAD                            3122 ENGLE ROAD                             900 GREENBANK ROAD
KINDERHOOK, NY 12106                      FORT WAYNE, IN 46809                        WILMINGTON, DE 19808



APPLIED METALS & MACHINE WORKS            ARAB PEST CONTROL                           ARROW FENCE COMPANY, INC.
1036 ST. MARYS AVENUE                     1130 PION RD                                318 EDGEWOOD AVENUE
FORT WAYNE, IN 46808                      FORT WAYNE, IN 46825                        FORT WAYNE, IN 46805



ARROW SERVICES INC                        ASHLAND CHEMICAL CO                         AUBURN CITY UTILITIES
4121 NORTHRUP                             P 0 BOX 395                                 PO BOX 506
FT WAYNE, IN 46805                        COLUMBUS, OH 43216-0395                     AUBURN, IN 46706
                              Case 04-10427-reg    Doc 601        Filed 04/07/05    Page 3 of 23
AUBURN INN                                AUSTIN PETROLEUM INC.                       AUTO ELECTRIC
225 TOURING DRIVE                         99 E. JOE STREET                            709 E WASHINGTON
AUBURN, IN 46706                          HUNTINQTON, IN 46750                        FT WAYNE, IN 46802



AUTOMATIC DATA PROCESSING                 AZTEC MILLENNIUM SUPPLY, I                  Air Products and Chemicals
OF INDIANAPOLIS INC                       8411 MAYHEW ROAD                            Tom Jacob A6313
P.O. BOX 80419                            FORT WAYNE, IN 46835                        7201 Hamilton Blvd.
INDIANAPOLIS, IN 46280-0419                                                           Allentown, PA 18195


American Arbitration Association          American Distribution Assoc.                American Express Travel Related SVCS CO
335 Madison Ave., 10th Fl.                335 Madison Ave., 10th Fl.                  c/o Becket & Lee LLP
New York, NY 10017                        New York, NY 10017                          PO Box 3001, Dept AC
                                                                                      Malvern, PA 19355-0701


American Express Travel Related Svcs Co   American Express Travel Related Svcs Co     Anne Meeks Davis Trust
Becket and Lee LLP, Attorneys/Agent       c/o Becket and Lee, LLP                     c/o James Borgmann, Esq.
P.O. Box 3001                             P.O. Box 3001                               201 East Jackson Street, Suite 400
Malvern, PA 19355-0701                    Malvern, PA 19355-0701                      Muncie, IN 46306-2847


Antibus Scales and Systems                Arch Wireless                               Ashland Incorporated
4809 Illinois Road                        Attn: Division 19                           Ashland Inc.
Fort Wayne, IN 46804                      11570 Mosteller Road                        Collection Dept. DS3
                                          Cincinnati OH 45241                         PO Box 2219
                                                                                      Columbus, OH 43216, 43216

Ashland, Inc.                             Auburn Chrysler, Dodge, & Jeep, Inc.        Auburn Foundry, Inc.
Collection Dept.                          507 South Grandstaff Drive                  635 W. Eleventh Street
P.O. Box 2219                             Auburn, IN 46706                            Auburn, IN 46706
Columbus, OH 43216


Austin Petroleum, Inc.                    B-P INDUSTRIAL DIVISION                     BADEN, GAGE & SCHROEDER, LLC
c/o Ron Ellis, President                  8432 CENTRAL AVE., SUITE 3                  6920 POINTE INVERNESS WAY, SUITE 300
99 East Joe Street                        SYLVANIA, OH 43560                          FORT WAYNE, IN 46804
Huntington, IN 46750


BANK OF AMERICA                           BASSETT OFFICE SUPPLY INC                   BAYARD ADVERTISING AGENCY
231 S. LASALLE STREET, 16TH FLOOR         509 SOUTH MAIN STREET                       902 BROADWAY, 10TH FLOOR
CHICAGO, IL 60697                         AUBURN, IN 46706                            NEW YORK, NY 10010



BBC PUMP AND EQUIPMENT CO., INC.          BBC Pump and Equipment Co., Inc.            BBC Pump and Equipment Co., Inc.
1125 WEST 16TH ST                         777 N. Tibbs Ave.                           777 N. Tibbs Avenue
PO BOX 22098                              PO Box 22098                                PO Box 22099
INDIANAPOLIS, IN 46222                    Indianapolis, IN 46222                      Indianapolis, IN 46222


BEARDSLEY AND PIPER, LLC                  BELCON CORP.                                BGR INC
751 SHORELINE DRIVE                       P.O. BOX 4763                               25703 SPRINGFIELD CENTER ROAD
AURORA, IL 60504                          OAK BROOK, IL 60522-4763                    HARLAN, IN 46743
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BGR Inc.                                 BISBEE INFARED SERVICES                     BLISS CLEARING NIAGRA, INC.
6392 Grand Road                          1304 W MICHIGAN                             683 NORTHLAND AVENUE
West Chester, Ohio 45069                 JACKSON, MI 49204                           BUFFALO, NY 14211



BLUE FLAME OF WATERLOO                   BOBCAT FINANCIAL SERVICES                   BOBCAT OF FORT WAYNE
P.O. BOX 428                             8001 RIDGEPOINT DRIVE                       3630 GOSHEN ROAD
WATERLOO, IN 46793                       IRVING, TX 75063                            FORT WAYNE, IN 46818



BOHL CRANE INC                           BOHREN LOGISTICS, INC.                      BOHREN-MERCER WAREHOUSE AND DISTRIBUTION
1930 LAKEVIEW DRIVE                      325 N. TAYLOR ROAD                          325 N. TAYLOR RD
FT WAYNE, IN 46808                       GARRETT, IN 46738                           GARRETT, IN 46738



BOSTWICK-BRAUN COMPANY                   BPC - BELL PACKAGING CORPORATION            BPC - Bell Packaging Corporation
ST RD 4 169                              PO BOX 3333                                 PO Box 3006
ASHLEY, IN 46705                         MARION, IN 46953-0333                       Marion, IN 46953-0333



BRAKE MATERIALS & PARTS INC              BREAD BASKET                                BRECHBUHLER SCALES
800 SHERMAN AT PAPE                      115 NORTH MAIN STREET                       3306 CAVALIER DRIVE
FORT WAYNE, IN 46808                     AUBURN, IN 46706                            FORT WAYNE, IN 46808



BREHOB ELECTRIC EQUIPMENT INC.           BRIAN S AUTOMOTIVE CENTER                   BRISTAL METAL PRODUCTS, INC
1334 SOUTH MERIDIAN STRET                1110 SOUTH GRANDSTAFF DRIVE                 3000 LEBANON CHURCH ROAD
INDIANAPOLIS, IN 46225                   AUBURN, IN 46706                            WEST MIFFLIN, PA 15122



BUSINESS IMPRESSIONS                     BUTLER & BUTLER CONSTRUCTION                Bank of America, National Association
509 S MAIN ST                            1803 GRANDSTAFF DRIVE SOUTH                 231 S. LaSalle, 16th Floor
AUBURN, IN 46706                         AUBURN, IN 46706                            Chicago, IL 60697



Beardsley & Piper LLC                    Becket & Lee, LLP                           Best Access Systems
751 Shareline Drive                      PO Box 3001                                 6161 E. 75th St.
Aurora, IL 60504                         16 General Warren Blvd                      Indianapolis, IN 46250
                                         Malvern, PA 19355


Bobcat of Fort Wayne, Inc.               Bohl Equipment Company                      Bostwick-Braun
3630 Goshen Road                         534 W. Laskey Rd.                           1946 N. 13th Street
Fort Wayne, IN 46818                     Toledo, OH 43612                            Toledo, OH 43624



Bostwick-Braun Company                   Gary D. Boyn                                Brehob Corp.
1946 North 13th Street                   121 W. Franklin Street                      P O Box 2023
Toledo, OH                               Elkhart, IN 46516                           Indianapolis IN 46206-2023
43624
                                Case 04-10427-reg   Doc 601         Filed 04/07/05   Page 5 of 23
Brehob Electric Equipment Inc.             John R. Burns(DM)                           John R. Burns(JF)
P.O. Box 2023                              111 East Wayne Street                       Baker & Daniels
Indianapolis, IN 46225                     Fort Wayne, IN 46802                        111 E. Wayne Street
                                                                                       Suite 800
                                                                                       Fort Wayne, IN 46802

John Burns(SR)                             C A PICARD SURFACE ENGINEER                 C MILLER & SONS INC
111 East Wayne Street                      SURFACE ENGINEERING DIVISION, INC.          6707 GABION WAY
Suite 800                                  689 SUGAR LANE                              FT WAYNE, IN 46818
Fort Wayne, IN 46802                       ELYRIA, OH 44035


CALAR INC                                  CAMS, INC.                                  CAMWAY TRANSPORTATION CORP
1010 C WEST SEVENTH STREET                 495 VILLAGE PARK DRIVE                      7846 WEST CENTRAL AVENUE
AUBURN, IN 46706                           POWELL, OH 43065                            TOLEDO. OH 43617



CANTEEN                                    CARPENTER BROTHERS INC.                     CARPER FARM SUPPLY INC
2715 AMERICAN WAY                          6120 NORTON CENTER DRIVE                    PO BOX 159
FORT WAYNE, IN 46809                       MUSKEGON, MI 49441                          ASHLEY, IN 46705



CARRIER VIBRATING EQUIPMENT                CASCADE PATTERN COMPANY                     CC METALS AND ALLOYS INC
P.O. BOX 37070                             5191 TERNES AVENUE                          UNIVERSITY CORPORATE CENTRE
LOUISVILLE, KY 40233-7070                  ELYRIA, OH 44035                            300 CORPORATE PARKWAY - 216N
                                                                                       AMHERST, NY 14226


CERTANIUM. ALLOYS & RESEARCH               CERTIFIED REDUCER REBUILDERS                CINCINNATI PLUS
6510 NORTHPARK BLVD.                       32079 MILTON                                PARTS DIVISION
CHARLOTTE, NC 28216                        MADISON HEIGHTS, MI 48071                   4701 MARBURG AVENUE
                                                                                       CINCINNATI, OH 45209


CITIZENS GAS & COKE UTILITIES              CITY OF AUBURN                              CLASSIC CITY AUTOMOTIVE INC
2020 NORTH MERIDIAN STREET                 % REBECCA FULLER                            503 MICHIGAN AVENUE
INDIANAPOLIS, IN 46202                     P.O.BOX 506                                 AUBURN, IN 46706
                                           AUBURN, IN 46706


CLEAN CONVEYOR SOLUTIONS                   COMPLETE DRIVES INC                         COMPLETE MAINTENANCE & STA
DIVISION OF CVP GROUP, INC.                1542 W. AUBURN DRIVE                        5405 HURSH ROAD
P.O. BOX 67                                AUBURN, IN 46706                            FORT WAYNE, IN 46845
WILLOW SPRINGS, IL 60480-0067


COMTRONIX CORPORATION                      CONSOLIDATED INDUSTRIES                     COPELCO CAPITAL, INC.
2213 EAST 45TH STREET                      6228 HOLLY OAK DRIVE                        P.O. BOX 728
INDIANAPOLIS, IN 46205-2297                FORT WAYNE, IN 46818                        PARK RIDGE, NJ 07656



COPPER AND BRASS SALES INC.                CORE TECH INC                               COTTERMAN COMPANY
530 NORTHFIELD DRIVE                       6000 OLD MAUMEE RD                          130 SELTZER ROAD
BROWNSBURG, IN 46112                       FT WAYNE, IN 46803                          CROSWELL, MI 48422
                              Case 04-10427-reg   Doc 601        Filed 04/07/05   Page 6 of 23
COVERT MANUFACTURING INC.                COVINGTON BOX                              CROSIBLE INC.
328 SOUTH EAST STREET                    3514 US 6                                  P.O. BOX 271
GALION, OH 44833                         WATERLOO, IN 46793                         MORAVIA, NY 13118



CRYSTAL CLEAN                            CURRENT INC                                CURTIS 1000
C O PETROLEUM MANAGEMENT                 2120 E. WASHINGTON                         PO BOX 11271
7901 WEST MORRIS ST.                     FT WAYNE, IN 46803-1329                    FT WAYNE, IN 46856
INDIANAPOLIS, IN 46231


CUSTOM ENGINEERING & FABRICATION         Calar Inc.                                 Carolyn D. Honer
2471 CR 64                               PO Box 458                                 C/O Keaton And Keaton
AUBURN, IN 46706                         Syracuse, IN 46567                         P.O. Box 11208
                                                                                    Fort Wayne, IN 46856-1208


Cascade Pattern Co.                      Cascade Pattern Company                    Centennial Wireless
c/o Brian Green                          Shapero, Green & Michel LLC                421 Fernhill Avenue
25101 Chagrin Blvd., Suite 220           Signature Square II, Suite 220             Fort Wayne, IN 46805
Beachwood, Ohio 44122                    25101 Chagrin Blvd.
                                         Cleveland, OH 44122

Ceruti’s Catering                        Christy Davis Trust                        Citizens Gas & Coke Utility
615 Professional Way                     c/o Sommer Barnard Ackerson PC             Michael McGauhey
Kendallville, IN 46755                   Attn: Jerald I. Ancel                      2950 Propect Street
                                         One Indiana Square, Suite 3500             Indianapolis, IN 46203
                                         Indianapolis, IN 46204-2023, 46204-202

City of Auburn                           City of Auburn                             City of Auburn
c/o W. Erik Weber                        c/o Edmund P. Kos                          c/o W. Erik Weber
130 East 7th Street                      Kos & Associate                            130 East 7th Street
Auburn, IN 46706                         110 West Berry Street, Suite 1904          Auburn, IN 46706-1839
                                         Fort Wayne, IN 46802

Commissioner of Labor/IOSHA              Complete Drives Inc.                       Complete Drives Inc.
402 W. Washington Street, RM W-195       6419 Discount Dr.                          6419 Discount Drive
Indianapolis, IN 46204                   Fort Wayne, IN 46818                       Fort Wayne, IN 46818



Complete Maintenance & Staffing, Inc.    Corporate Benefit Strategy                 Covington Box & Packaging, Inc.
5405 Hursh Road                          5181 Plainfield Ave. NE, Suite D           c/o Beckman Lawson, LLP
Fort Wayne, IN 46845                     Grand Rapids, MI 46535                     Attn: Howard B. Sandler, Esq.
                                                                                    PO Box 800
                                                                                    Fort Wayne, IN 46801-0800, 46801-0800

Crown Equipment Corporation              Lawrence S. Crowther                       Custom Engineering & Fabrication
1919 Research Drive                      6055 Rockside Woods Blvd, Suite 200        1631 East Pontiac St.
Fort Wayne, IN 46808                     Cleveland, OH 44131                        Fort Wayne, IN 46803



Custom Engineering & Fabrication         D.A.S. SERVICES, INC.                      DAUBER COMPANY INC
1631 East Pontiac Street                 2310 WEST 175 NORTH                        577 NORTH 18TH ROAD
Fort Wayne, IN 46809                     ANGOLA, IN 46703                           TONICA, IL 61370
                              Case 04-10427-reg     Doc 601         Filed 04/07/05   Page 7 of 23
DAVID B. FINK                              DAVID J. JOSEPH COMPANY                     DEKALB COUNTY TREASURER
P.O. BOX 72                                659 VAN METER STREET, SUITE 530             COURTHOUSE
AUBURN, IN 46706                           CINCINNATI, OH 45202                        AUBURN, IN 46706



DEKALB COUNTY, INDIANA                     DEKALB ENGINEERING                          DEKALB MEMORIAL HOSPITAL
DEKALB COUNTY ASSESSOR, COURT HOUSE        700 E QUINCY STREET                         PO BOX 542
100 SOUTH MAIN STREET                      GARRETT, IN 46738                           AUBURN, IN 46706
AUBURN, IN 46706


DELL FINANCIAL SERVICES, L.P.              DIAMOND POWER SPECIALTY CO                  DICTATING & TIME SYSTEMS
14050 SUMMIT DRIVE, BLDG. A, SUITE 101     2520 EAST MAIN STREET                       2212 SOUTH CALHOUN STREET
AUSTIN, TX 78758                           LANCASTER, OH 43130-0787                    FORT WAYNE, IN 46802



DIETERT FOUNDRY TESTING INC                DIGITAL COMMUNICATION PROD                  DIGITAL REPROGRAPHICS, INC.
9190 ROSE LAWN AVE.                        3720 SOUTH CALHOUN STREET                   105 CHAMBEAU ROAD
DETROIT, MI 48204                          FT WAYNE, IN 46862-2107                     FORT WAYNE, IN 46805



DISA GOFF, INC.                            DISA INDUSTRIES INC.                        DISA INDUSTRIES, INC.
I PLEASANT GROVE ROAD                      80 KENDALL POINT DRIVE                      80 KENDALL POINT DRIVE
SEMINOLE, OK 74868                         OSWEGO, IL 60543                            OSWEGO, IL 60543



DISA Industrie, Inc.                       DIVERSIFIED PATTERN & ENG                   DOALL SOUTH BEND CO INC
Randall A. Miller                          100 PROGRESS WAY                            802 S. BEIGER ST.
80 Kendall Point Drive                     AVILLA, IN 46710-0230                       MISHAWAKA, IN 46544
Oswego, IL 60543


DON R FRUCHEY INC                          DORSCH TOOL & ENG CO                        DR LUBRICANTS INC
5608 OLD MAUMEE ROAD                       3419 GEORGETOWN RD                          4611 NEWAYGO ROAD, SUITE D
FT WAYNE, IN 46803                         INDIANAPOLIS, IN 46224                      FT WAYNE, IN 46825



DUCA MANUFACTURING INC                     DUFFY OFFICE PRODUCTS                       DURAFLO EQUIPMENT COMPANY, INC.
761 MCCLURG ROAD                           7712 LIMA ROAD                              1737 MASSACHUSETTS AVENUE
BOARDMAN, OH 44512                         FORT WAYNE, IN 46818                        INDIANAPOLIS, IN 46201



Daniel T. March                            Dauber Company Inc.                         David B. Fink, Debtor by G. D. Boynm, Tr
C/O John C. Grimm                          577 North 18th Road                         c/o Warrick & Boyn LLP
P.O. Box 31                                Tonica, IL 61370                            Attn: Gary D. Boyn
Auburn, IN 46706                                                                       121 West Franklin Street, Suite 400
                                                                                       Elkhart, IN 46516-3278, 46516-3278

David Burr Fink, by Tower Bank & Trust C   David Hunter                                David M. Meeks Jr. Trust
Tower Bank & Trust Co., as Trustee         5206 N. Manitou Trail                       c/o James Borgmann, Esq.
c/o Martin E. Seifert, Esq.                Leland, MI 49654                            201 East Jackson Street, Suite 400
Haller & Colvin, P.C.                                                                  Muncie, IN 46305-2847
444 East Main Street, Fort Wayne, IN 468
                              Case 04-10427-reg   Doc 601        Filed 04/07/05   Page 8 of 23
David Weber                              Dayton Freight                             Dayton Freight Lines Inc
4213 Arkway Ct.                          PO Box 340                                 6450 Poe Ave. Ste 311
Fort Wayne, IN 46814                     Vandalia, OH 45377                         Dayton, Ohio 45414



DeKalb Co. Nuisance Animal Control       Dell Financial Services                    Detrick L. Franklin
4107 CR 35                               PO Box 99200                               C/O Chritopher C. Myers
Auburn, IN 46706                         Chicago, IL 60693                          809 S. Calhoun St., Ste 400
                                                                                    Fort Wayne, IN 46802


Detrick L. Franklin                      Dick Taylor Consulting 635 Land 425        Digital Communication Prod.
c/o Christopher C. Myers                 Jimmerson Lake                             3720 South Calhoun Street
Christopher C. Myers & Associates        Fremont, IN 46737                          Fort Wayne, IN 46807
809 S. Calhoun St., Ste. 400
Fort Wayne, IN 46802, 46802

Disa Goff, Inc.                          Don R. Fruchey, Inc.                       Duraflo Equipment Company, Inc.
PO Box 1607                              Kent C. Litchin                            3910 - B Culligan Avenue
Seminole, OK 74818                       Grossman & Litchin LLP                     Indianapolis, IN 46218
                                         1600 Lincoln Tower
                                         Fort Wayne, Indiana 46802, 46802

Duraflo Equipment Company, Inc.          E-FILLIATE INC.                            EAGLE FOUNTAIN WORKS, INC.
3910-B Culligan Avenue                   11321 WHITE ROCK RD                        8 WINCHESTER ROAD
Indianapolis, IN 46218                   RANCHO CORDOVA, CA 95742                   ORMOND BEACH, FL 32174



EASTERN ENGINEERING SUPPLY               ECLECTRIC COMPANY                          EDGLO LABORATORIES INC
2810 NORTH WHEELING                      18315 RICHEY LANE                          2107 EAST WASHINGTON BLVD
MUNCIE, IN 47303                         HUNTERTOWN, IN 46748                       FT WAYNE, IN 46803



EDS                                      EDWARDS MEDICAL                            EIRICH MACHINES INC
PO BOX 4582                              495 WOODCREEK DRIVE                        4033 RYAN RD
POSTAL STATION A                         BOLINGBROOK, IL 60440                      GURNEE, IL 60031
TORONTO, ON M5W 4W4


ELEVENTH STREET CAPITAL, LL              ELKEM METALS INC.                          ELY CRANE & HOIST
635 WEST ELEVENTH STREET                 P 0 BOX 266                                1247 EAST 222ND STREET
AUBURN, IN 46706                         PITTSBURGH, PA 15230-0266                  EUCLID, OH 44117



EMED COMPANY INC.                        EMERGENCY RADIO SERVICE                    EMPIRE REFRACTORY SALES INC
P.O. BOX 369                             4410 EARTH DRIVE                           3525 METRO DRIVE
BUFFALO, NY 14240-0369                   FORT WAYNE, IN 46809                       FORT WAYNE, IN 46818



EMPLOYER S SECURITY INC                  ENCO MFG CO                                ENGINEERED TOOLING
PO BOX 1045                              400 NEVADA PACIFIC HIGHWAY                 P.O. BOX 48
ELKHART, IN 46515                        FERNLEY, NV 89408                          ALBION, IN 46701
                                Case 04-10427-reg   Doc 601         Filed 04/07/05   Page 9 of 23
ENVIRO CONTROL METALS                      EPIC MACHINE                                ERNST AND YOUNG LLP
650 CHESTNUT STREET S.W                    201 INDUSTRIAL WAY                          PO BOX 710884
GRAND RAPIDS, MI 49503                     FENTON, MI 48430                            CINCINNATI, OH 45271-0884



EWALD ENTERPRISES INC                      EXECUTONE INFORMATION SYSTEMS               Earth Tech, Inc.
PO BOX 80165                               ATTN LCR DEPARTMENT                         5555 Glenwood Hills Pkwy. S.E.
FT WAYNE, IN 46898-0165                    P.O. BOX 52843                              Grand Rapids, MI 49512
                                           PHOENIX, AZ 85072-2843


Edglo Laboratories Inc.                    Edglo Laboratories, Inc.                    Edwin P. Rosebrock
2121 E. Washington Blvd.                   2121 East Washington Blvd.                  PO Box 383
Fort Wayne, IN 46803                       Fort Wayne, IN 46803                        Auburn, IN 46706



Edwin P. Rosebrock                         Edwin P. and Mary K. Rosebrock              Henry A. Efroymson
Patrick L. Proctor                         C/O Patrick Procter, Eilbacher Scott        Ice Miller
803 South Calhoun St., 4th Floor           110 W. Berry St., Ste 2202                  One American Square
Fort Wayne, IN 46802                       Fort Wayne, IN 46802                        Box 82001
                                                                                       Indianapolis, IN 46282

Eleventh Street Capital, LLC               Eleventh Street Capital, LLC                Elkem Metals Inc.
c/o Sommer Barnard Ackerson                c/o Sommer Barnard Ackerson PC              Stacy Cairns
Attn: Jerald I. Ancel                      Attn: Jerald I. Ancel                       PO Box 266
One Indiana Square, Suite 3500             One Indiana Square, Suite 3500              Pittsburgh, PA 15230
Indianapolis, IN 46204-2023, 46204-202     Indianapolis, IN 46204-2023, 46204-202

Elliot Transport System, Inc.              Enco Manufacturing Company, Inc.            Enco Mfg Co
MC 250424                                  PO Box 357                                  P.O. Box 357
4104-32nd Avenue South                     Farmingdale, NY 11735                       Farmingdale, NY 11735
Moorhead, MN 56561-0366


Eric Davis                                 Ewald Enterprises Inc                       FAIRMOUNT MINERALS
1565 West Maumee Street                    PO Box 80165                                P 0 BOX 400
Angola, IN 46703                           Ft. Wayne, IN 46898-0165                    BRIDGEMAN, MI 49106
                                           Attn: Daniel R. Ewald


FALCON FOUNDRY CO                          FARGO WEAR INC                              FIRE PROTECTION INC
PO BOX 301                                 1801 CANIFF AVENUE                          750 W NORTH ST SUITE C
LOWELLVILLE, OH 44436-0301                 DETROIT, MI 48212-2917                      AUBURN, IN 46706



FLEX-PAC, INC.                             FMTHUR                                      FOSECO INC
7113 SOUTH MAYFLOWER PARK                  8408 MANOR DRIVE                            20200 SHELDON ROAD
ZIONSVILLE. IN 46077                       FORT WAYNE, IN 46825                        BROOK PARK, OH 44142



FOX CONTRACTORS CORP.                      FRANK H GILL COMPANY                        FRANKLIN CAPITAL FINANCIAL SERVICES, LLC
5430 FERGUSON ROAD                         2859 BERNICE ROAD                           112 NORTH GRANT STREET
FORT WAYNE, IN 46809                       LANSING, IL 60438                           NORTH AURORA, IL 60542
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FREEMAN MFG & SUPPLY COMPANY               FRISKNEY GEAR & MACHINE CORP               FT WAYNE ORTHOPAEDICS
27655 GROESBECK HWY                        350 NORTH BRIDGE STREET                    P.O. BOX 2526
ROSEVILLE, MI 48066                        CORUNNA, IN 46730                          FORT WAYNE, IN 46801



Fairmount Minerals                         Fastenal Company                           Stephen L. Fink
Michelle Pezanoski                         923 Cardinal Court                         Barnes & Thornburg
P.O. Box 177                               Auburn, IN 46706                           600 One Summit Square
Wedron, IL 60557                                                                      Fort Wayne, IN 46802


Fire Protection, Inc.                      First Insurance Funding Corp.              Fox Contractors Corp.
Curt & Tim Howard                          450 Skokie Blvd., Ste 1000                 c/o Stephen E. Lewis, Esq.
750 W. North Street                        P.O. Box 3306                              Haller & Colvin, P.C.
Auburn, IN 46706                           Northbrook, IL 60065-3306                  444 East Main Street
                                                                                      Fort Wayne, IN 46802

Fox Contractors Corp.                      Frank H Gill Company                       Frank H Gill Company
c/o Stephen E. Lewis, Esq.                 P.O. Box 703                               PO Box 703
Haller & Colvin, P.C.                      Lansing, IL 60438-0703                     Lansing, IL 60438-0703
444 East Main Street
Fort Wayne, Indiana 46802, 46802

GENERAL KINEMATICS CORP                    GEORGE E BOOTH COMPANY                     GMAC BUSINESS CREDIT, LLC
777-T LAKE ZURICH ROAD                     8202 W 10TH ST                             300 GALLERIA OFFICENTRE, STE 110
BARRINGTON, IL 60010                       INDIANAPOLIS, IN 46214-2432                SOUTHFIELD, MI 48034



GMAC Business Credit, LLC                  GMP Local 322                              GOEGLEIN I S
3000 Town Center, Suite 280                C/O Richard J. Swanson                     7311 MAYSVILLE ROAD
Southfield, MI 48075                       445 N. Pennsylvania Street, Suite 401      FORT WAYNE, IN 46815-8199
                                           Indianapolis, IN 46204-1800


GOLDEN RULE SANITATION, IN                 GRAINGER INC                               GRAYCRAFT SIGNS PLUS INC
9905 KRESS ROAD                            5002 SPEEDWAY DRIVE                        434 WEST 7TH STREET
ROANOKE, IN 46783                          FT WAYNE, IN 46825                         AUBURN, IN 46706



GREAT LAKES CARBON CORP                    GROHOLSKI MANUFACTURING SO                 Nancy J. Gargula
FOUR GREENSPOINT PLAZA,SUITE 2200          PO BOX 15742                               One Michiana Square
16945 NORTHCHASE DRIVE                     FORT WAYNE, IN 46885                       5th Floor
HOUSTON, TX 77060-2133                                                                100 East Wayne Street
                                                                                      South Bend, IN 46601

Gary G. Schock                             Gary G. Shock                              General Kinematics Corp
C/O Randal S. Forbee                       c/o Randal S. Forbes                       5050 Rickert Road
P.O. Box 374                               PO Box 374                                 Crystal Lake, IL 60014-7333
Angol, IN 46703                            Angola, IN 46703


General Motors Corporation                 Gerald L. Martin, III                      Gerald Martin
Tricia A. Sherick, Esq.                    c/o Christopher C. Myers & Associates      C/O Chritopher C. Myers
Honigman Miller Schwartz and Cohn LLP      809 S. Calhoun St., Ste. 400               809 S. Calhoun St., Ste 400
2290 First National Bldg.                  Fort Wayne, IN 46802                       Fort Wayne, IN 46802
Detroit, MI 48226, 48226
                              Case 04-10427-reg    Doc 601       Filed 04/07/05   Page 11 of 23
Glass, Molders, Pottery, Plastics and Al   Goeglein’s Inc.                           H E C 0 INC
c/o Richard J. Swanson                     7311 Maysville Road                       3509 S BURDICK ST
445 N. Pennsylvania Street, Suite 401      Fort Wayne, IN 46815-8199                 KALAMAZOO, MI 49001
Indianapolis, IN 46204


H.A. SMOLEN COMPANY INC.                   HANEY S GLASS OF AUBURN                   HARBOR METAL, INC
PO BOX 9055                                930 WEST 15TH STREET                      PO BOX 644
HIGHLAND, IN 46322                         AUBURN, IN 46706                          BENTON HARBOR, MI 49023



HARTLEY CONTROLS CORP.                     HERAEUS ELECTRO-NITE COMPANY              HICKMAN WILLIAMS & COMPANY
2400 HOLLY ROAD                            INSTRUMENT LAB                            COMMERCE PLAZA
NEENAH, WI 54956                           1418 EAST 86TH PLACE                      2015 SPRING ROAD
                                           MERRILLVILLE, IN 46410                    OAK BROOK, IL 60521


HILL AND GRIFFITH CO.                      HIPSHER TOOL & DIE, INC.                  HOOK INDUSTRIAL SALES INC.
3637 FARNSWORTH                            1593 S. STATE ROAD 115                    2731 BROOKLYN AVE.
INDIANAPOLIS, IN 46241                     WABASH, IN 46992                          PO BOX 9177
                                                                                     FORT WAYNE, IN 46899


HOOSIER TRAILER & TRUCK EQ                 HOT CREWS INC                             HYDRONIC & STEAM EQUIP CO
4830 TODD DRIVE                            PO BOX 13094                              8950 BASH STREET
FORT WAYNE, IN 46803                       FT WAYNE, IN 46803                        INDIANAPOLIS, IN 46256



Harbor Metal Treating Co. of Indiana       Heraeus Electro-Nite Company              Heraeus Electro_Nite Co.
PO Box 644                                 One Summit Square 1st Floor               One Summit Square 1st Floor
Benton Harbor, MI 49023                    Suite 100                                 Suite 100
                                           Langhorne, PA 19047                       Langhorne PA 19047


Hi-Vac Corporation                         Hickman, Williams & Company               Honigman Miller Schwartz & Cohn LLP
117 Industry Road                          PO Box 538                                2290 First National Building
Marietta, OH 45750                         Cincinnati, OH 45201                      660 Woodward Avenue
                                           Attention: T. L. Meadors                  Detroit, MI 48226


I.R.S.                                     IBM CREDIT CORPORATION                    IBM CREDIT LLC
230 S. DEARBORNE, ROOM 2560                I NORTH CASTLE DRIVE                      1 NORTH CASTLE DRIVE
5014 CHI                                   ARMONK, NY 10504-2575                     ARMONK, NY 10504-2575
CHICAGO, IL 60604


IBM Corporation                            IBM Corporation                           IBM Credit LLC
Beverly H. Shideler                        2707 Butterfield                          Beverly Shideler
Two Lincoln Centre                         Oak Brook, IL 60521                       Two Lincoln Centre
Oakbrook Terrace, IL 60181                                                           Oakbrook, IL 60181


IN Dept. of Environmental Management       INDIANA DEPARTMENT OF REVENUE             INDIANA REFRACTORIES INC.
100 North Senate Avenue                    100 NORTH SENATE                          1624 SIMONS STREET
P.O. Box 6015                              ROOM N203                                 FT. WAYNE, IN 46803
Indianapolis, IN 46204                     INDIANAPOLIS, IN 46204-2217
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INDUCTOTHERM CORP                          INDUSTRIAL CERAMIC PRODUCT                 INDUSTRIAL MARKETING INC.
10 INDEL AVE                               14401 SUNTRA WAY                           114 W. TOLEDO STREET
RANCOCAS, NJ 08073                         MARYSVILLE, OH 43040                       FREMONT, IN 46737



INDUSTRIAL SPECIALITIES                    INDUSTRIAL TOOL SERVICE INC.               INDUSTRIAL TUBE & STEEL CO
9621 WHITE HILL DRIVE                      612 HAYDEN STREET                          P.O. BOX 640137
FORT WAYNE, IN 46804-5953                  FORT WAYNE, IN 46802                       CINCINNATI, OH 45264-0137



INDUSTRON CORPORATION                      INGERSOLL-RAND CO                          INOVIS
2044 VALLEYDALE TERRACE                    AIR COMPRESSOR GROUP                       ATTN BILLING
BIRMINGHAM, AL 35244                       2516-1 INDUSTRIAL PARK DRIVE               2425 N. CENTRAL EXPRESSWAY
                                           GOSHEN, IN 46526                           RICHARDSON, TX 75080


INTERLUBE CORPORATION                      INTERMEC TECHNOLOGY CORP.                  INTERNATIONAL QUALITY
4646 BAKER AVENUE                          9290 LESAINT DRIVE                         521 CLEVELAND
CINCINNATI, OH 45212-2594                  FAIRFIELD, OH 45014-5454                   LINCOLN PARK, MI 48146



INTERNATIONAL SURFACE PREP                 IRCON INC                                  IVY TECH
1606 EXECUTIVE DR                          7300 N. NATCHEZ AVE.                       3800 NORTH ANTHONY BLVD
LAGRANGE, GA 30241                         NILES, IL 60714                            FORT WAYNE, IN 46805



Indiana Department of Revenue              Indiana Department of Revenue              Indiana Department of Revenue
100 North Senate                           Bankruptcy Section, Room N-203             County Tax
Indianapolis, IN 46204-2253                100 North Senate Avenue                    100 North Senate
                                           Indianapolis, IN 46204                     Indianapolis, IN 46204-2253


Indiana Department of Workforce Developm   Indiana Employment Security Division       Industrial Specialties
Beverly Korobkin                           10 North Senate Street                     9621 White Hill Ct.
10 North Senate Avenue, SE200              Indianapolis, IN 46204                     Fort Wayne, IN 46804-5953
Indianapolis, IN 46204-2277


Internal Revenue Service                   Internal Revenue Services                  J & K COMMUNICATIONS INC.
230 South Dearborn, Room 2560              230 South Dearborn, Room 2560              222 S. TOWER VIEW DRIVE
5014 CHI                                   5014CHI                                    COLUMBIA CITY, IN 46725
Chicago, IL 60604                          Chicago, IL 60604


J & L INDUSTRIAL SUPPLY                    J E BEARING AND MACHINE LTD.               J-LENCO INC
PO BOX 3359                                68 SPRUCE STREET                           664 N HIGH STREET
LIVONIA, MI                                TILLSONBURG, ON N4G 4H8                    LARUE, CH 43332



JACKSON-HIRSH INC                          JANET F. BORDEN                            JET EXPRESS INC.
700 ANTHONY TRAIL                          P.O. BOX 770570                            4518 WEBSTER STREET
NORTHBROOK, IL 60062-2542                  STEAMBOAT SPRINGS, CO 80477                DAYTON, OH 45414
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JOHN A. FINK                               James Godschalk                             Janet F. Borden
271 N. MCCLELLAN STREET, #106              c/o Beckman Lawson LLP                      c/o Sommer Barnard Ackerson PC
P.O. BOX 757                               Attn: Howard B. Sandler                     Attn: Jerald I. Ancel
AUBURN, IN 46706                           P O Box 800                                 One Indiana Square, Suite 3500
                                           Fort Wayne IN 46801-0800, 46801-0800        Indianapolis, IN 46204-2023, 46204-202

Joe Harmon                                 John A. Fink                                John A. Urbaska Revocable Trust
7004 Blackhawk Lane                        c/o Sommer Barnard Ackerson PC              c/o Sommer Barnard Ackerson PC
Fort Wayne, IN 46815                       Attn: Jerald I. Ancel                       Attn: Jerald I. Ancel
                                           One Indiana Square, Suite 3500              One Indiana Square, Suite 3500
                                           Indianapolis, IN 46204-2023, 46204-202      Indianapolis, IN 467204-2023, 467204-2

K M H SYSTEMS                              KALTENBACH, INC.                            KEIBLER THOMPSON CORP
7020 STATE ROUTE 930 EAST                  6775 INWOOD DRIVE                           ROUTE 66 RR #2R
FT WAYNE, IN 46803                         COLUMBUS, IN 47202                          EXPORT, PA 15632



KENDALL ELECTRIC INC                       KENDALLVILLE IRON & METAL INC               KERAMIDA ENVIRONMENTAL INC
PO BOX 46                                  243 E. LISBON ROAD                          330 N COLLEGE AVE
AUBURN, IN 46706-0046                      P O BOX 69                                  INDIANAPOLIS, IN 46202
                                           KENDALLVILLE IN 46755


KEY EQUIPMENT FINANCE                      KMH SYSTEMS, INC.                           KMH Systems, Inc.
66 SOUTH PEARL STREET                      7020 SR 930 EAST                            6900 Poe Ave.
ALBANY, NY 12207                           FORT WAYNE, IN 46803                        Dayton, OH 45414



KONE INC                                   KORTE BROS INC                              KORTE PAPER CO.
433 FERNHILL AVE                           620 W COOK RD                               1819 SOUTH CALHOUN
FORT WAYNE, IN 46805-1039                  FT WAYNE, IN 46825-3324                     FORT WAYNE, IN 46857



KROGER FOOD STORES                         KUSTOM MACHINING INC.                       Katie Urbaska Revocable Trust
1001 WEST SEVENTH STREET                   P.O. BOX 39                                 c/o Sommer Barnard Ackerson PC
AUBURN, IN 46706                           LEO, IN 46765                               Attn: Jerald I. Ancel
                                                                                       One Indiana Square, Suite 3500
                                                                                       Indianapolis, IN 46204-2023, 46204-202

Kendall Electric Inc.                      Kendall Electric Inc.                       Kerry L. Flory
131 Grand Truck Ave.                       131 Grand Truck Avenue                      03469 County Road 9
Battle Creek, MI 49016                     Battle Creek, MI 49016                      Bryan, OH 43506



Key Equipment Finance, a division of Key   Khela J. Franklin                           Kimberly E. Parker
Capital, Inc. assignee for Adirondack      c/o Christopher C. Myers                    c/o Chistopher C. Myers
Leasing Association                        Christopher C. Myers & Associates           809 S. Calhoun St., Ste 400
Attn: Sal Boscia                           809 S. Calhoun St., Ste. 400                Fort Wayne, IN 46802
1000 South McCaslin Boulevard, Louisvill   Fort Wayne, IN 46802, 46802

Edmund P. Kos                              Kurt Hollenbeck                             L & D INDUSTRIES
Kos & Associate                            2018 Sweet Cider Road                       201 SOUTH FULTON
110 West Berry Street                      Fort Wayne, IN 46818                        AUBURN, IN 46706
Suite #1904
Fort Wayne, IN 46802
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LAB SAFETY SUPPLY INC.                     LBH CHEMICAL & INDUSTRIAL                 LDM, LOADING DOCK MAINTENANCE
PO BOX 1368                                PO BOX 8460                               14819 MILL ROAD
JANESVILLE, WI 53547-1368                  FT WAYNE, IN 46808-8460                   FORT WAYNE, IN 46816



LECO CORPORATION                           LMI TECHNOLOGIES (USA), INC               LOUGHEED & ASSOCIATES, INC.
3000 LAKEVIEW AVENUE                       21455 SUITE 22 MELROSE AVE                1017 S. HADLEY ROAD
ST. JOSEPH, MI 49085-2396                  SOUTHFIELD, MI 48075                      FORT WAYNE, IN 46804



LOUIS PADNOS IRON & METAL CO.              LYMAN STEEL CO.                           Brian J. Lange
P.O. BOX 1979                              P.O. BOX 28340                            Schenkel, Tirpak & Kowalczyk
HOLLAND, MI 49422-1979                     CLEVELAND, OH 44128                       520 South Calhoun Street
                                                                                     Fort Wayne, IN 46802-0501


Stephen E. Lewis                           MACALLISTER MACHINERY CO INC              MACDONALD MACHINERY CO INC.
444 E. Main St.                            2418 COLISEUM BLVD W                      3911 LIMESTONE DRIVE
Fort Wayne, IN 46802                       FORT WAYNE, IN 46808-3648                 FORT WAYNE, IN 46809



MAGMA FOUNDRY TECHNOLOGIES                 MAGNECO METREL INC                        MAIL-WELL ENVELOPE
2340 SOUTH ARLINGTON HEIGHTS ROAD          PO BOX 176                                4500 TIEDMAN ROAD
ARLINGTON HEIG, IL 60005                   NEGLEY, OH 44441                          CLEVELAND, OH 44144



MARJO PLASTICS                             MARLIN LEASING CORP.                      MARLIN LEASING CORP.
1081 CHERRY STREET                         124 GAITHER DRIVE SUITE 170               PO BOX 13604
PLYMOUTH, MI 48170                         MOUNT LAUREL, NJ 08054                    PHILADELPHIA, PA 19101-3604



MARPOSS CORPORATION                        MARTIN GRAPHICS                           MASTER GAGE & TOOL CO.
3300 CROSS CREEK PARKWAY                   P.O. BOX 525                              112 MAPLEWOOD STREET
AUBURN HILLS, MI 48326                     AUBURN, IN 46706                          DANVILLE, VA 24540



MATERIALS HANDLING EQUIP C                 MCLEAN MIDWEST CORPORATION                MCMAHON TIRE
7433 US 30 EAST                            11611 BUSINESS PARK BLVD. N.              1712 SOUTH WAYNE STREET
FT WAYNE, IN 46803                         CHAMPLIN, MN 55316                        AUBURN, IN 46706



MCMASTER CARR SUPPLY COMPANY               MCNICHOLS COMPANY                         MCS Industrial Supply Co.
200 AURORA INDUSTRIAL PKWY                 1951 LIVELY BLVD.                         75 Maxess Road
AURORA, OH 44202                           ELK GROVE VILLAGE, IL 60007               Melville, NY 11747



MELLON CONSULTANTS                         MET-PAK SPECIALITIES, INC.                METALTEC STEEL ABRASIVE CO
TWO PENNSYLVANIA PLAZA                     2701 S. COLISEUM BLVD., SUITE 117         41155 JOY ROAD
NEW YORK, NY 10121                         FORT WAYNE, IN 46803                      CANTON, MI 48187
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MEYER INDUSTRIAL SERVICE                   MICHAEL BARSTOW                            MICHIANA DOOR
616 W MAPLEWOOD DRIVE                      CONSULTANT METALLURGIST                    PO BOX 45
OSSIAN, IN 46777                           1152 SOUTHVALE ROAD                        STROH, IN 46789-0045
                                           PITTSBURGH, PA 15237-4241


MID-STATE CHEMICAL & SUPPLY CO.            MIDWEST AIR FILTER, INC.                   MIDWEST INSTRUMENT CO INC
2100 GREENBRIER LANE                       3630 N. WELLS STREET                       541 INDUSTRIAL DR
INDIANAPOLIS, IN 46218                     FORT WAYNE, IN 46808                       HARTLAND, WI 53029-0080



MIDWEST PIPE & STEEL INC                   MILLER AND COMPANY                         MODERN EQUIPMENT COMPANY
PO BOX 11558                               6400 SHAFER COURT, SUITE 500               336 SOUTH SPRING STREET
FORT WAYNE, IN 46859                       ROSEMONT, IL 60018                         PORT WASHINGTON, WI 53074



MONITOR TECHNOLOGIES LLC                   MOTION INDUSTRIES INC                      MP STEEL INDIANA, LLC
DRAWER AL-44W320                           3333 EAST WASHINGTON BLVD                  PO BOX 876
ELBURN, IL 60119                           FT WAYNE, IN 46862-2149                    KENDALLVILLE, IN 46755



MPB INDUSTRIES                             MSC INDUSTRIAL SUPPLY CO                   MSC Industrial Supply Co.
505 EAST 31ST STREET                       P.O. BOX 9072                              75 Maxess Road
ANDERSON, IN 46016                         MELVILLE, NY 11747                         Melville, NY 11747



MSS SOFTWARE                               Magneco Metrel Inc.                        Maila Davis Megorden Trust
5 GREAT VALLEN PARKWAY                     223 Interstate Road                        c/o Sommer Barnard Ackerson PC
MALVERN, PA 19355                          Addison, IL 60101                          Attn: Jerald I. Ancel
                                                                                      One Indiana Square, Suite 3500
                                                                                      Indianapolis, IN 46204-2023, 46204-202

Maile M. Urbaska                           Mark A. Gorney                             Mark A. Gorney
c/o Sommer Barnard Ackerson PC             c/o Christopher C. Myers                   c/o Christopher C. Myers
Attn: Jerald I. Ancel                      809 S. Calhoun St, Ste. 400                Christopher . Myers & Associates
One Indiana Square, Suite 3500             Fort Wayne, IN 46802                       809 S. Calhoun Street, Suite 400
Indianapolis, IN 46204-2023, 46204-202                                                FOrt Wayne, IN 46802, 46802

Marlin Leasing Corp.                       Mary K. Rosenbrock                         Maxwell Engineering, Inc.
Kelly McCarthy, Bankruptcy Administrator   c/o Patrick Procter, Eilbacher Scott       dba Allen Pattern Works
124 Gaither Drive, Suite 170               110 West Berry St., Ste. 2202              616 East Wallace Street
Mount Laurel, NJ 08054                     Fort Wayne, In 46802                       PO Box 10540
                                                                                      Fort Wayne, IN 46803, 46803

McNichols Company                          McNichols Company                          Medical Group of Fort Wayne
Attn: Dwight Glisson                       PO Box 30300                               Billing Office
PO Box 30300                               Tampa, FL 33630-3300                       PO Box 2505
Tampa, FL 33630-3300                                                                  Fort Wayne, IN 46801-2505


Michael Polich                             Michigan Department of Treasury            Midwest Instrument Co. Inc.
7822 Ladue Court                           PO Box 30059                               Jeff Heimsch
Fort Wayne, IN 46804                       Lansing, MI 48909                          PO Box 80
                                                                                      Hartland, WI 53029
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Miller and Company LLC                   Miller and Company LLC                      Moore Medical Corp
Robert Overman                           Robert E. Overman II                        Attn: Sharon Schoenberger
9700 W. Higgins Road                     9700 West Higgins, Suite 1000               PO Box 1500
Suite 1000                               Rosemont, IL 60018                          New Britain, CT 06050-1500
Rosemont, IL 60018

Moore Medical Corporation                Motion Industries, Inc                      NADAPRO INC
389 John Downey Drive                    1605 Alton Road                             5020 NOB ROAD
PO Box 2740                              Birmingham, AL 35210                        FT WAYNE, IN 46825
New Britain, CT 06050-2740


NADAPRO, Inc.                            NATIONAL CITY LEASING CORP.                 NATIONAL MATERIAL TRADING
c/o Gary D. Wohlwend                     101 SOUTH FIFTH STREET                      1965 PRATT BLVD
5020 Nob Road                            LOUISVILLE, KY 40202                        ELK GROVE VILLAGE, IL 60007
Fort Wayne, IN 46825


NEFF ENGINEERING CO INC                  NES RENTALS                                 NEWARK INONE
7114 INNOVATION BLVD                     8855 BYRON COMMERCE                         4410 EXECUTIVE BLVD, SUITE A
FT WAYNE, IN 46898                       BYRON CENTER, MI 49315                      FT WAYNE, IN 46808



NIckie L. Hutcherson                     NMHG FINANCIAL SERVICES INC                 NMHG FINANCIAL SERVICES INC.
340 Lane 101                             7020 HWY 30 EAST                            44 OLD RIDGEBURY ROAD
Long Beach Lake                          FORT WAYNE, IN 46803                        DANBURY, CT 06810
Fremont, IN 46737


NMHG Financial Services, Inc.            NORTHSTAR IMAGING, INC.                     National Serv-All
c/o Rubin & Levin, P.C.                  953 WESTGATE DRIVE                          5000 Smith Road
500Marott Center                         ST. PAUL, MN 55114                          Fort Wayne, In 46809
342 Massachusetts Ave.
Indianapolis, IN 46204-2161

National Serv-All                        Ned Donaldson                               Newcourt Leasing Corp/Cit
Merritt/Hess                             612 Valley Park Drive                       21146 Network Place
3907 CR 47                               Auburn, IN 46706                            Chicago, IL 60673-1211
Auburn, IN 46706


Northbend Pattern Works                  Northern Indiana Trading Company            O C Tanner
28080 Ziebler Blvd.                      PO Box 526                                  1930 South State Street
West Harrison, IN 47060                  Auburn, IN 46706                            Salt Lake City, UT 84115



OFC CAPITAL                              OLD FORT SUPPLY CO., INC.                   OMEGA ENGINEERING INC.
DEPT GA00010                             OLD FORT WAY AT 2000 WAYNE TRACE            ONE OMEGA DRIVE
PO BOX 530101                            FORT WAYNE, IN 46803                        P.O. BOX 4047
ATLANTA, GA 30353-0101                                                               STAMFORD, CT 06907-0047


OMNISOURCE CORP-TUSCO                    OSSOLA INDUSTRIALS INC.                     OmniSource Corporation
2453 HILL AVENUE                         1740 W. SEVENTH STREET                      C/O Thomas P. Yoder, Esq.
TOLEDO, OH 43607                         GRANITE CITY, IL 62040                      Barrett & McNagny LLP
                                                                                     215 East Berry Street
                                                                                     Fort Wayne, IN 46802, 46802
                               Case 04-10427-reg   Doc 601        Filed 04/07/05   Page 17 of 23
Overnight Transportation                   Overnite Transportation Co.                PAASO GENERAL EQUIPMENT
PO Box 1216                                PO Box 1216                                PO BOX 868
Richmond, VA 23209-1216                    Richmond, VA 23218-1216                    BRIGHTON, MI 48116



PANGBORN COMPANY                           PARKER GLOVE & SUPPLY, INC                 PEERLESS METALS POWDERS & ABRASIVES
580 PANGBORN BLVD.                         EAST 4TH STREET                            P.O. BOX 09254
HAGERSTOWN, MD 21742-0380                  AVILLA, IN 46710                           DETROIT, MI 48209



PERFECTION SERVO HYDRAULIC                 PERKINS SEPTIC AND DRAIN SERVICE           PFLAUMER BROTHERS INC
1010 WEST REPUBLIC DRIVE                   0375 CR 11                                 398 CLARKSVILLE ROAD
ADDISON, IL 60101                          HUDSON, IN 46747                           PRINCETON JCT., NJ 08550



PHC INDUSTRIES INC.                        PHC Industries Inc.                        POWERED EQUIPMENT AND REPAIR
3115 PITTSBURG STREET                      PO Box 11225                               600 VOORHEES
FORT WAYNE, IN 46825                       Fort Wyane, IN 46856-1225                  PO BOX 147
                                                                                      TERRE HAUTE, IN 47808-0147


PRANGER ENTERPRISES INC                    PRECISION CALIBRATION COMPANY              PRECISION STEEL SERVICES
PO BOX 366                                 7656 MILLINER COURT                        4334 EARTH DRIVE
ASHLEY, IN 46705                           PLAINFIELD, IN 46168                       FT. WAYNE, IN 46809



PROJECT MANAGEMENT SERVICES                PROXTRONICS DOSIMETRY LLC                  PSA Quality Systems, INc.
P.O. BOX 398                               7200 FULLERTON ROAD                        5615 Enterprise Drive
MCDONALD, OH 44437-0398                    SPRINGFIELD, VA 22150                      Lansing, MI 48911



PWC FABRICATION                            Parkview Occupational Health               Pension Benefit Guaranty Corporation
2121 WAYNE HAVEN AVENUE                    3103 East State Street                     Attn: Brad Rogers, Attorney
FORT WAYNE, IN 46803                       Fort Wayne, In 46805                       Office of the General Counsel, Suite 340
                                                                                      1200 K Street, N.W.
                                                                                      Washington, DC 20005-4026, 20005-4026

Perfection Servo Hydraulic                 Perfection Servo Hydraulics                Print Shop
1290 Lyon Road                             1290 Lyon Rd.                              825 Northwood Blvd.
Batavia, IL 60510                          Batavia IL, 60510                          Fort Wayne, IN 46805



Patrick L. Proctor                         QHG OF FT WAYNE, INC REDIM                 QMS-CUSTOMER SERVICE
Eilbacher Fletcher LLP                     315 EAST COOK ROAD                         300 GALLERIA OFFICENTER, S
803 South Calhoun Street, Ste 400          FORT WAYNE, IN 46825                       SOUTHFIELD, MI 48034
Fort Wayne, IN 46802


QUALITY CALIBRATION SERVICE                R I LAMPUS CO                              R I Lampus Co.
10205 WEST GREENFIELD AVENUE               816 RAILROAD ST                            816 Railroad St.
WEST ALLIS, WI 53214                       SPRINGDALE, PA 15144                       Springdale, PA 15144
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R.S. Corcoran Company                     RA MUELLER INC.                            RADIO SHACK
500 N. Vine Street                        11270 CORNELL PARK DRIVE                   1025 W 7TH ST
P.O. Box 429                              CINCINNATI, OH 45242                       AUBURN, IN 46706
New Lenox, IL 60451-0429


REDIMED DEKALB, LLC                       REFCO INC                                  REILLEY TRUCKING
AMIC                                      PO BOX 12867                               7431 BENT WILLOW DRIVE
500 S. GRANDSTAFF SUITE G                 PITTSBURAH, PA 15241                       FORT WAYNE, IN 46815
AUBURN, IN 46706


RELIABLE CORPORATION                      RENCO MACHINE CO INC                       RENO REFRACTORIES, INC.
1001 WEST VAN BUREN STREET                1421 EASTMAN AVE                           PO BOX 201
CHICAGO, IL 60607                         GREEN BAY, WI 54302                        MORRIS, AL 35116



RICHARD SQUIER PALLETS INC                RUDD EQUIPMENT COMPANY                     RUMFORD INDUSTRIAL GROUP INC.
3992 CR24                                 P.O. BOX 32427                             PO BOX 752288
WATERLOO, IN 46793                        LOUISVILLE, KY 40232                       DAYTON, OH 45475



RYTEC CORPORATION                         RadioShack Credit Services                 Marlene Reich(DKW)
PO BOX 403                                Attn: Judy Wong                            Sommer, Barnard
JACKSON, WI 53037                         300 RadioShack Circle Mail Stop 5018       One Indiana Square
                                          PO Box 961090                              Suite 3500
                                          Fort Worth TX 76161-5018, 76161-5018       Indianapolis, IN 46204

Richard Squier Pallets Inc.               Brad Rogers                                Ronald J. Osbun
2522 US Hwy 6 West                        Pension Benefit Guaranty Corporation       c/o Christopher C. Myers & Associates
PO Box 668                                1200 K Street, N.W.                        809 South Calhoun Street, Suite 400
Waterloo, IN 46793                        Suite 340                                  Fort Wayne, IN 46802
                                          Washington, DC 20005-4026

S & S TIRE CO INC.                        S &SOILCO INC                              S D MYERS
1100 WEST 7TH STREET                      821 LAKESHORE AVENUE                       180 SOUTH AVENUE
AUBURN, IN 46706                          AUBURN. IN 46706                           TALLMADGE, OH 44278



SAFETY - KLEEN CORP                       SAFETY-KLEEN SYTEM, INC.                   SCHENKEL & SONS INC
PO BOX 12349                              5400 LEGACY DR.                            1120 ST MARY S AVENUE
COLUMBIA, SC 29211-2349                   CLUSTEN II BLDG 3                          FT WAYNE, IN 46808
                                          PLANO TX 75024


SCHUST ENGINEERING INC.                   SCIOTO VALLEY PACKAGING, LLC               SCOTT INDUSTRIAL SYSTEMS INC
701 NORTH STREET                          5151 REED ROAD NE, SUITE 210A              521 N AIRPORT OFFICE PARK
AUBURN, IN 46706                          COLUMBUS, OH 43220                         FT WAYNE, IN 46825



SECURITY LOCKNUT INC                      SENTINEL FLUID CONTROLS                    SES LLC TECHNICAL GROUP
9650 WEST FOSTER AVENUE                   7114 INNOVATION BOULEVARD                  PO BOX 8413
CHICAGO, IL 60656                         FORT WAYNE, IN 46818                       FORT WAYNE, IN 46898
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SHAMBAUGH & SONS INC                       SHELLS INC.                                  SHERRY LABORATORIES
P0 BOX 1287                                502 OLD U.S. HWY 30 EAST                     2203 SOUTH MADISON
FT WAYNE, IN 46801                         BOURBON, IN 46504                            MUNCIE, IN 47307



SIMPLICITY ENGINEERING IN                  SPECTRO ANALYTICAL INSTRUMENTS, INC.         SPECTRUM ENGINEERING CORP
212 S. OAK                                 160 AUTHORITY DRIVE                          17420 TONKEL ROAD
DURAND, MI 48429-0257                      FITCHBURG, MA 01420                          LEO, IN 46765-9779



SPRAYING SYSTEMS COMPANY                   SPRINKLING CAN                               STACLEAN DIFFUSER COMPANY
C O HARRIMAN AVE                           233 SOUTH MAIN STREET-                       PO BOX 1147
P.O. BOX 348                               AUBURN, IN 46706                             SALISBURY, NC 28144
AUBURN, IN 46706


STAG IRON AND METAL CORP                   STAG Iron & Metal Corp.                      STATES ENGINEERING CORP
7820 WEST 60TH PLACE                       Deer & Stone, P.C.                           10216 AIRPORT DRIVE
SUMMIT, IL 60501                           130 S. Jefferson Street, Suite 501           FORT WAYNE, IN 46819
                                           Chicago, IL 60661


STERICYCLE INC                             STRUERS INC                                  STURGIS IRON & METAL
1301 E ALEXIS ROAD                         24766 DETROIT ROAD                           70675 CENTERVILLE ROAD
TOLEDO, OH 43612                           WESTLAKE, OH 44145                           STURGIS, MI 49091-0579



SUPERIOR BUSINESS SOLUTION                 SYSTEM CLEAN INC.                            Schenkel & Sons Inc
PO BOX 8040                                50602 NORTH MICHIGAN ROAD                    Brian J. Lange, Esquire
FT WAYNE, IN 46898-8040                    SOUTH BEND, IN 46637-1532                    Schenkel Tirpak & Kowalczyk
                                                                                        520 South Calhoun Street
                                                                                        Fort Wayne, IN 46802, 46802

Scioto Valley Packaging, LLC               Secretary of Treasury                        Securities & Exchange Commission
PO Box 497                                 15th & Pennsylvania Avenue                   Bankruptcy Section
Clinton, NC 28329                          Washington DC 20220                          175 W. Jackson Blvd., Suite 900
                                                                                        Chicago IL 60604


Sentinel Fluid Controls                    Shambaugh & Son, L.P.                        Shambaugh & Son, L.P.
5702 Opportunity Drive                     7614 Opportunity Drive                       Post Office Box 1287
Toledo, OH 43612                           Post Office Box 1287                         Fort Wayne, Indiana 46801
                                           Fort Wayne,


Sheela B. Davis Trust                      Tricia A. Sherick                            Grant F. Shipley
c/o Sommer Barnard Ackerson PC             Honigman, Miller, Schwartz and Cohn LLP      233 West Baker Street
Attn: Jerald I. Ancel                      2290 First National Bldg.                    Fort Wayne, IN 46802-3413
One Indiana Square, Suite 3500             660 Woodward Avenue
Indianapolis, IN 46204-2023, 46204-202     Detroit, MI 48226

Sierra Poindexter                          Spectrum Engineering Corp                    Staclean Diffuser Co., LLC
c/o Christopher C. Myers & Associates      5524 North County Line Road                  PO Drawer 1147
809 South Calhoun Street, Suite 400        Auburn, IN 46706-9302                        Salisbury, NC 28145-1147
Fort Wayne, IN 46802
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State of Michigan                         Steel Equipment Specialists LLC             Stericycle Inc.
UIA Tax Office                            P.O. box 2148                               13975 Polo Trail Dr #201
POC Unit - Suite 11-500                   1507 Beeson St.                             Lake Forest IL 60045
Detroit, MI 48202                         Alliance, OH 44601


Sturgis Iron & Metal Co., Inc.            Richard J. Swanson                          System Clean, Inc
c/o P. Joseph Haas, Jr.                   Macey, Swanson & Allman                     50602 N. Michigan St.
112 S. Monroe Street                      445 North Pennsylvania Street               South Bend, IN 46637
Sturgis, MI 49091                         Suite 401
                                          Indianapolis, IN 46204-1800

T & L SHARPENING INC                      T & M EQUIPMENT CO INC                      T.T.G. PATTERN
2663 S FREEMAN ROAD                       2880 EAST 83RD PLACE                        5443 KEYSTONE DRIVE
MONTICELLO, IN 47960                      MERRILLVILLE, IN 46410                      FORT WAYNE, IN 46825



TAYLOR RENTAL AUBURN                      TEC-HACKETT, INC.                           TELEMOTIVE INDUSTRIAL CONTROLS
2224 STATE ROAD 8 WEST                    P.O. BOX 8830                               175 WALL STREET
AUBURN, IN 46706                          FORT WAYNE, IN 46898-8830                   GLENDALE HEIGHTS, IL 60139-1985



THOMAS E. KELLER TRUCKING INC.            TIME INDUSTRIAL INC                         TIMOTHY S. BORDEN
1160 CARPENTER ROAD                       6422 LIMA ROAD                              P.O. BOX 770570
DEFIANCE, OH 43512                        FORT WAYNE, IN 46818                        STEAMBOAT SPRINGS, CO 80477



TOOLING & EQUIPMENT INTERNATIONAL         TPC WIRE & CABLE                            TRANE COMPANY
12550 TECH CENTER DRIVE                   7061 EAST PLEASANT VALLEY ROAD              ROHAN TRANE SERVICE AGENCY, INC.
LIVONIA. MI 48150-2193                    INDEPENDENCE, OH 44131                      6602 INNOVATION BLVD.
                                                                                      FORT WAYNE, IN 46818-1389


TRI STATE COMPRESSED AIR SYSTEMS, IN      TRI-STATE INSTRUMENT SERVICE                TROJAN HEAT TREAT
1608 EISHENHOWER DRIVE SOUTH              3024 WAYNE TRACE                            809 S. BYRON ST
GOSHEN, IN 46526-5360                     P.O. BOX 6068                               HOMER, MI 49245
                                          FORT WAYNE, IN 46896


Taylor Rental Center, Inc.                The New Keibler Thompson Co.                Time Industrial, Inc.
2224 St. Rd. 8                            Route 66 RR#2                               c/o Roy F. Kiplinger
Auburn, IN 46706                          Box264A                                     Beers Mallers Backs & Salin, LLP
                                          Export, PA 15632                            110 W. Berry Street, Suite 1100
                                                                                      Fort Wayne, IN 46802, 46802

Timothy S. Borden                         Trevor Meeks Agency                         Ellen L. Triebold
c/o Sommer Barnard Ackerson PC            c/o Sommer Barnard Ackerson PC              Office of the United States Trustee
Attn: Jerald I. Ancel                     Attn: Jerald I. Ancel                       One Michiana Square, Suite 555
One Indiana Square, Suite 3500            One Indiana Square, Suite 3500              100 East Wayne Street
Indianapolis, IN 46204-2023, 46204-2023   Indianapolis, IN 46204-2023, 46204-202      South Bend, IN 46601

U.S. Attorney Office                      UNIMIN CORPORATION                          UNITED PARCEL SERVICE
3128 Federal Building                     809 MYERS ROAD                              P.O. BOX 505820
1300 South Harrison Street                ARCHBOLD, OH 43502                          THE LAKES, NV 88905-5820
Fort Wayne IN 46802
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US CARGO MANAGEMENT INC.                  US INSPECTION SERVICES                      US PATTERN COMPANY INC
PHILADELPHIA INTERNATIONAL AIRPORT        705 ALBANY STREET                           P0 BOX 220
P.O. BOX 277                              DAYTON, OH 45408                            RICHMOND, MI 48062
ESSINGTON, PA 19029


USF Holland, Inc                          Unimin Corporation                          United Parcel Service
750 E. 40th Street                        258 Elm Street                              c/o D&B/RMS Bankruptcy Services
Holland, MI 49423                         New Canaan, CT 06840                        PO Box 4396
                                                                                      Timonium, Maryland 21094


Universal Am-Can Ltd.                     VAN DYNE CROTTY, INC.                       VESUVIUS USA CORP.
PO Box 2007                               3115 INDEPENDENCE DRIVE                     661 WILLET ROAD
Warren, MI 48090                          FORT WAYNE, IN 46808                        BUFFALO, NY 14218



VIBES TECHNOLOGIES INC.                   VWR INTERNATIONAL, INC.                     VWR International, Inc.
7125 NORTHLAND TERRACE NORTH, SUITE 400   PO BOX 66929, O HARE AMF                    1230 Kennestone Circle
BROOKLYN PARK, MN 55428                   CHICAGO, IL 60666                           Marietta, GA 30066



Van Dyne Crotty Inc.                      Vericore L.L,C.                             Vesuvius USA Corporation
3233 Newmark Dr.                          1200 W. Causeway Approach                   Steven Del Cotto, Esquire
Miamisburg, OH 45342                      Mandevill, CA 70471                         27 Noblestown Road
                                                                                      Carnegie, PA 15106


W.W. GRAINGER, INC.                       WALMAN OPTICAL CO                           WARSAW ENGINEERING & FABRICATING
7300 N MELVINA AVE M530                   PO BOX 9440                                 2780 E. DURBIN STREET
NILES IL 60714-3998                       MINNEAPOLIS, MN 55440                       WARSAW, IN 46581-1043



WATER SCIENCES                            WAYNE FASTENERS INC                         WAYNE PIPE & SUPPLY INC
PO BOX 15489                              2725 INDEPENDENCE DRIVE                     1815 SOUTH ANTHONY BLVD
FT WAYNE, IN 46885                        FT WAYNE, IN 46808                          FT WAYNE, IN 46803



WELDER SERVICES INC                       WESTPORT HARDNESS & GAGING                  WEYERHAEUSER CO.
1725 EDSALL AVENUE                        510 MONTAUK HWY                             2626 CR 71
FT WAYNE, IN 46896                        WEST ISLIP, NY 11795                        BUTLER, IN 46721



WHEELABRATOR ABRASIVES INC                WHEELABRATOR CANADA INC.                    WIESE PLANNING & ENG., INC.
1 ABRASIVE AVE                            401 WHEELABRATOR WAY                        2725 INDEPENDENCE DRIVE
BEDFORD, VA 24523                         MILTON, ONTARIO, L9T487                     FORT WAYNE, IN 46808



WILLIAM C WEBER & ASSOC IN                WILLIAM E. FINK                             WISE INTERNATIONAL IDEAL LEAS
CONSTITUTION HILL OFFICE PARK             P.O. BOX 826                                2807 GOSHEN ROAD
6201 CONSTITUTION DRIVE                   AUBURN, IN 46706                            FORT WAYNE, IN 46808
FT WAYNE, IN 46804
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Warsaw Engineering & Fabricating          Wayne Fasteners Inc.                        W. Erik Weber
c/o Scott R. Leisz                        2611 Independence Dr.                       Mefford and Weber, P.C.
Bingham McHale LLP                        Ft. Wayne, IN 46808                         130 East 7th Street
10 W. Market, #2700                                                                   P.O. Box 667
Indianapolis, IN 46204, 46204                                                         Auburn, IN 46706

Mark Werling(DM)                          Mark A. Werling(TW)                         Elizabeth A. Whelan
Baker & Daniels                           111 East Wayne Street                       Office of the Attorney General
111 East Wayne Street, #800               Suite 800                                   Indiana Government Center South, 5th Fl.
Fort Wayne, IN 46802                      Fort Wayne, IN 46802                        302 W. Washington Street
                                                                                      Indianapolis, IN 46204

William C. Weber & Associates, Inc        William E. Fink                             XRI TESTING
William/Suzanne Weber                     c/o Sommer Barnard Ackerson PC              8327 RELIABLE PARKWAY
6201 Constitution Dr.                     Attn: Jerald I. Ancel                       CHICAGO, IL 60686-0083
Fort Wayne, IN 46804                      One Indiana Square, Suite 3500
                                          Indianapolis, IN 46204-2023, 46204-202

XRI TESTING - TROY                        James T. Young                              plant
MOBILEX, LLC                              RUBIN & LEVIN, P.C.                         2222 west
1961 THUNDERBIRD                          342 Massachusetts Avenue, Ste. 500          naumee
TROY, MI 48084                            Indianapolis, IN 46204-2161
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                                       BAKER & DANIELS

                                       By: /s/ John R Burns, III
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                                             Mark A. Werling (#20426-02)
                                             111 East Wayne Street, Suite 800
                                             Fort Wayne, Indiana 46802
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                                             mark.werling@bakerd.com
                                             Telephone: (260) 424-8000
                                             Facsimile: (260) 460-1700

                                       ATTORNEYS FOR THE DEBTOR,
                                       AUBURN FOUNDRY, INC.




FWIMAN1 347670v1                            2
